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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE WAWA, INC.                                  :
DATA SECURITY LITIGATION                          :      CIVIL ACTION
                                                  :
                                                  :      This document applies to
                                                  :      Consumer and Employee Track
                                                  :
                                                  :      No. 19-6019



                          NOTICE RESCHEDULING HEARING

       The HEARING on the MOTION FOR BOND (Doc. No. 319) has been rescheduled for

June 30, 2022 at 10:00 a.m. in COURTROOM 10B with the Honorable Gene E.K. Pratter,

United States Courthouse, 601 Market Street, Philadelphia, PA 19106.




                                                         s/Susan Flaherty
                                                         SUSAN FLAHERTY
                                                         Civil Courtroom Deputy
                                                         to the Honorable Gene E.K. Pratter
                                                         United States District Court Judge




Date of Notice: June 22, 2022
Copies sent via ECF notification.




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